227 F.3d 1000 (7th Cir. 2000)
    Matt Lindland, Plaintiff-Appellee,v.United States of America Wrestling  Association, Inc., United States  Olympic Committee, and Keith Sieracki, Defendants-Appellants.Keith Sieracki, Plaintiff-Appellant,v.United States of America Wrestling  Association, Inc., and United States  Olympic Committee, Defendants-Appellees.
    No. 00-3220, No. 00-3236
    In the  United States Court of Appeals  For the Seventh Circuit
    Submitted August 30 and September 1, 2000Decided  September 1, 2000Opinion September 5, 2000*
    
      Appeal from the United States District Court  for the Northern District of Illinois, Eastern Division.  No. 00 C 5151--James B. Zagel, Judge.
      Appeal from the United States District Court  for the Northern District of Illinois, Eastern Division.  No. 00 C 5348--James B. Zagel, Judge.
      Before Easterbrook, Manion, and Diane P. Wood, Circuit  Judges.
      Easterbrook, Circuit Judge.
    
    
      1
      Readers of our prior  opinions (or the sports pages) know that Keith  Sieracki and Matt Lindland both believe that they  are entitled to be the U.S. entrant in the 76  kilogram weight class of Greco-Roman wrestling at  the 2000 Olympic Games. They have met twice in  championship bouts where the Olympic spot was the  victor's reward: Sieracki won the first by a  score of 2-1; Lindland won the second by a score  of 8-0. Each claims that his victory entitles him  to the slot in Sydney. Lindland protested the  result of the first match through the hierarchy  of USA Wrestling, the national governing body for  amateur wrestling. After USA Wrestling rejected  his protests, Lindland commenced arbitration,  which was his right under the Ted Stevens Olympic  and Amateur Sports Act. See 36 U.S.C.  sec.220529(a). Arbitrator Burns ordered the  rematch, which Lindland won. USA Wrestling was  unwilling to accept this outcome; instead of  sending Lindland's name to the United States  Olympic Committee (USOC) as its nominee for the  Games, it told the USOC to send Sieracki and  listed Lindland only as a person eligible to  compete in the event of injury. Lindland then  sought confirmation of the Burns Award under  sec.9 of the Federal Arbitration Act, 9 U.S.C.  sec.9, and in an opinion issued on August 24 we  held that Lindland is entitled to that relief--  which, we pointedly added, means that he is  entitled to be USA Wrestling's nominee to the  USOC. Lindland v. USA Wrestling Association,  Inc., F.3d, No. 00-3177 (7th Cir. Aug. 24, 2000).
    
    
      2
      Later that day, USA Wrestling informed the USOC  that Sieracki remained its nominee. Its  explanation for this defiance was that a second  arbitrator, in a proceeding initiated by  Sieracki, had disagreed with Arbitrator Burns and  directed USA Wrestling to make Sieracki its  nominee on the basis of his victory in the first  match. USA Wrestling had no excuse for following  Arbitrator Campbell's unreviewed award rather  than a decision of a federal court confirming  Arbitrator Burns's award, and on August 25 we  issued a writ of mandamus requiring the district  court to ensure that USA Wrestling implemented  the Burns Award "immediately and  unconditionally." Lindland v. USA Wrestling  Association, Inc., F.3d at No. 00-3177 (7th Cir. Aug. 25,  2000), On August 26 USA Wrestling  finally complied, but the USOC then refused to  accept Lindland as a member of the team,  asserting that USA Wrestling's nomination of  Lindland was untimely because Sieracki's name  already had been sent to the International  Olympic Committee (IOC) in Lausanne, Switzerland.
    
    
      3
      Lindland then returned to the district court,  asking it to compel the USOC to send his name to  the IOC. Sieracki fought back by asking a  different district court (in Denver, Colorado) to  confirm the Campbell Award. The district judge in  Denver sensibly transferred that request to the  Northern District of Illinois under 28 U.S.C.  sec.1404, consolidating all proceedings arising  out of the dispute. The Northern District ordered  the USOC to request the IOC to substitute  Lindland for Sieracki. The USOC has done so, and  the IOC has made the substitution. The Northern  District also denied Sieracki's petition to  confirm the Campbell Award. Two appeals ensued.  We expedited the briefing and affirmed both  decisions on September 1, promising that this  opinion would follow with an explanation.
    
    
      4
      Although Lindland now is a member of the U.S.  team, and the IOC's deadline for making changes  has expired, the dispute is not moot. The Games  begin at 4 a.m. on September 15 (Chicago time),  and the 76 kilogram classification in Greco-Roman  wrestling does not get underway until September  24. The IOC accepted a substitution of Lindland  for Sieracki after its deadline, remarking that  it was willing to make the change because the  USOC acted under judicial order. This implies  that if we now confirmed the Campbell Award  (including its provision annulling the Burns  Award) and directed the USOC to substitute  Sieracki for Lindland, the IOC would accept that  change as well. We therefore address the merits--  starting with what is logically the first issue,  whether to confirm the Campbell Award.
    
    
      5
      Lindland had argued to Arbitrator Burns that  USA Wrestling's grievance proceedings were  flawed. Arbitrator Burns agreed and ordered the  rematch as a remedy in lieu of directing USA  Wrestling to reconsider Lindland's protest to the  judging of his match with Sieracki. Arbitrator  Campbell went over the same ground, disagreeing  with Arbitrator Burns about the adequacy of USA  Wrestling's processes and adding that, in his  view, the result of the first match (which  everyone calls "Bout #244") had not been affected  by any errors in applying the scoring rules for  Greco-Roman wrestling. It is not a surprising  view for Arbitrator Campbell to have taken,  because the proceedings began amicably. Sieracki  initiated the arbitration to defend his initial  victory, and USA Wrestling, the respondent,  likewise defended both the scoring of the match  and the conduct of its internal appeals.  (Lindland intervened to defend the Burns Award,  but, having already won the rematch, was more  interested in preserving that victory than in  litigating from scratch.) What is surprising was  that Arbitrator Campbell not only approved the  result of the original Bout #244 and the adequacy  of USA Wrestling's grievance procedures but also  directed it to ignore the result of the rematch--  that is, Arbitrator Campbell directed USA  Wrestling not to implement the Burns Award.
    
    
      6
      Sieracki argues that the Campbell Award is no  less confirmable under the standards of the  Federal Arbitration Act than was the Burns Award,  see 9 U.S.C. sec.10, and if he is entitled to  confirmation of the Campbell Award then we should  set aside the confirmation of the Burns Award  (because relief from the Burns Award is part of  the Campbell Award). Certainly there is no  evidence that the Campbell Award is the result of  "corruption," "fraud," "evident partiality," or  any similar bar to confirmation. The district  court refused to enforce the Campbell Award  because the Burns Award had been enforced  already, and it read Consolidation Coal Co. v.  United Mine Workers, 213 F.3d 404 (7th Cir.  2000), as precluding enforcement of incompatible  awards. Only one of these athletes can be on the  Olympic Team, and the district judge thought that  federal courts should not order the USOC to send  both. Sieracki replies that arbitrators need not  follow judicial notions of preclusion--a good  point about arbitrators, see Brotherhood of  Maintenance of Way Employees v. Burlington  Northern R.R., 24 F.3d 937 (7th Cir. 1994), but  not about judges. Once the Burns Award was  confirmed, it was no longer simply the view of a  fellow arbitrator with which Campbell could  disagree. But this may not be a complete answer.  If the Campbell Award is understood to vacate the  Burns Award, then confirmation of the Campbell  Award logically entails vacating the prior  confirmation of the Burns Award. That step would  not leave USA Wrestling under conflicting  judicial instructions. (Nor is it clear that  conflict is an irremediable evil. Injunctions  create property rights, which may be altered by  private agreements. Bargaining among Sieracki,  Lindland, and USA Wrestling could lead to a  settlement that would relieve USA Wrestling of  any incompatible obligations. See Guido Calabresi  &amp; A. Douglas Melamed, Property Rules, Liability  Rules, and Inalienability: One View of the  Cathedral, 85 Harv. L. Rev. 1088 (1972).)
    
    
      7
      Definitive resolution of the right way to  handle conflicting awards, after one has been  confirmed, may await another day. The Campbell  Award could not be confirmed even if it were the  sole award. It is doubly flawed: first, the  entire proceeding appears to have been ultra  vires; second, the award violates the Commercial  Rules of the American Arbitration Association,  under which the proceeding was conducted. 36  U.S.C. sec.220529(b)(2). Because Arbitrator  Campbell exceeded his powers, his award cannot be  confirmed. 9 U.S.C. sec.10(a)(4).
    
    
      8
      Sieracki initiated an arbitration not to contest  a final decision by USA Wrestling but to protest  the Burns Award. Sieracki filed his demand for  arbitration on August 11, two days after the  Burns Award and three days before his rematch  with Lindland (and thus before any issues  associated with that bout could have arisen). The  Stevens Act does not authorize arbitration about  the propriety of another arbitrator's decision.  Section 220529(a) provides:A party aggrieved by a determination of the  corporation under section 220527 or 220528 of  this title may obtain review by any regional  office of the American Arbitration Association.
    
    
      9
      What is arbitrable is "a determination of the  corporation under section 220527 or 220528 of  this title". Arbitrator Burns is not "the  corporation" (a term defined in sec.220501 as the  USOC, though some of its powers have been  delegated to national governing bodies such as  USA Wrestling); what is more, neither he nor USA  Wrestling (in implementing the Burns Award to the  extent of scheduling the rematch) rendered "a  determination . . . under section 220527 or  220528 of this title". Section 220528 deals with  applications to replace national governing  bodies. Section 220527 specifies remedies that  athletes have within national governing bodies  such as USA Wrestling. Lindland exhausted his  remedies within USA Wrestling and obtained "a  determination of the corporation under section  220527 . . . of this title", and thus was  entitled to arbitrate his grievance. Sieracki, by  contrast, did not initiate any proceedings within  the scope of sec.220527. Although  sec.220527(b)(1) allows athletes to forego  exhaustion when time is too short to allow  decision, it does not allow bypass of a claim  under sec.220527--that is, a contention that a  national governing body has failed "to comply  with sections 220522, 220524, and 220525 of this  title". 36 U.S.C. sec.220527(a). Sieracki did not  have such a claim and therefore was not entitled  to arbitration under the Stevens Act even if it  was proper to pretermit administrative remedies.  No other provision of which we are aware supports  arbitration whose sole subject is the decision of  a prior arbitrator. The Stevens Act would be  self-destructive if it authorized such  proceedings, which would lead to enduring turmoil  (as happened here) and defeat the statute's  function of facilitating final resolution of  disputes, see sec.220529(d).
    
    
      10
      Even if the second arbitration had been  authorized, however, the outcome would have been  forbidden by the rules under which it was  conducted. Rule 48 of the AAA's Commercial Rules  provides that an "arbitrator is not empowered to  redetermine the merits of any claim already  decided." Sieracki stresses, as our opinion of  August 24 acknowledged, that judicial ideas about  issue and claim preclusion need not apply in  arbitration. But arbitrators assuredly are bound  by the contracts and other rules that give them  power to act. An arbitrator who throws aside  those rules and implements his "own brand of  industrial justice" oversteps his powers, and the  resulting award must be set aside. Steelworkers  v. Enterprise Wheel &amp; Car Corp., 363 U.S. 593,  597 (1960); Paperworkers v. Misco, Inc., 484 U.S.  29, 36 (1987). What the Steelworkers Trilogy  declared about "industrial justice" is equally  true of commercial or athletic justice.  Arbitrators are not ombudsmen; they are  authorized to resolve disputes under contracts  and rules, not to declare how the world should  work in the large. Arbitrator Campbell did not  misinterpret Rule 48; he decided to ignore it  utterly. The whole point of the Campbell  proceeding was to redecide the issues that had  been before Arbitrator Burns, and the Campbell  Award directs USA Wrestling to disregard the  Burns Award. Campbell observed, correctly, that  Sieracki was not a party to the Burns  proceedings, but the other participants in the  proceedings before Arbitrator Campbell were  parties to the Burns proceedings. By the time  Campbell acted, the Burns Award had "already  decided" that the nomination to the Olympic Team  would depend on a rematch between Sieracki and  Lindland. Whatever powers Campbell possessed viaa-vis Sieracki, he lacked the power to order USA  Wrestling to nominate anyone other than the  winner of the rematch. The Campbell Award  therefore is not entitled to confirmation.
    
    
      11
      This conclusion makes it unnecessary to decide  whether, by participating in the Campbell  proceedings, Lindland waived or forfeited his  entitlement to the benefits of the Burns Award.  The Campbell Award is invalid, so it does not  bind Lindland or anyone else. But we shall not  conceal our doubt about this argument. The  "waiver" to which Sieracki and USA Wrestling  point is simply Lindland's assent to the terms of  participation in the Olympic Games, one of which  is submitting to final and binding arbitration of  disputes. How such a document can surrender the  final and binding effect of the Burns Award is a  mystery. When Sieracki and USA Wrestling entered  into their friendly arbitration in an effort to  escape from the unwelcome Burns Award, Lindland  was in a tough spot. It would not be sensible to  say that he waived the benefits of an award  already in hand by trying to persuade Arbitrator  Campbell to follow his duties under AAA Rule 48  or by attempting to persuade Campbell that Burns  acted wisely (and thus to avert the problems that  have ensued from Campbell's contrary decision).  Nor is it sensible to say, as Sieracki does, that  Lindland won a race to the courthouse. The  Campbell Award is invalid, so timing is  immaterial. Lindland is entitled to USA  Wrestling's nomination because (a) Arbitrator  Burns ordered USA Wrestling to hold a rematch,  and (b) Lindland won that rematch. If Sieracki  had prevailed in the rematch, he would be on the  Olympic Team today. Athletic disputes should be  settled on the playing field--as the Burns Award  provided.
    
    
      12
      For completeness, we add that none of the  parties' arguments persuades us that the order  confirming the Burns Award should be  reconsidered. Sieracki, USA Wrestling, and the  USOC continue to assert that the Burns  proceedings were flawed because Sieracki was not  a party to them. These submissions ignore the  language of the Stevens Act, which provides for  arbitration between an aggrieved athlete and the  national governing body, not for arbitration  among athletes. In arbitration the national  governing body, by defending its decision (as USA  Wrestling vigorously did), also defends the  interests of the winning athlete. Doubtless the  constitution or bylaws of the USOC or USA  Wrestling could designate as additional parties  those athletes potentially affected by the  proceedings, but they do not do so. Arbitrator  Campbell himself remarked that "customarily in a  USOC Article IX arbitration . . . the competing  athlete who does not initiate the arbitration .  . . is not a participant and is not considered a  necessary party by the USOC." If the USOC now  favors a different approach, it should change its  own rules rather than ask a federal court to  disregard an award that was rendered following  normal procedures. (Normal outside athletics,  too, as our opinion of August 24 observed.)
    
    
      13
      Lindland and USA Wrestling were the only  parties to the Burns proceedings. All the Burns  Award (coupled with Lindland's victory in the  rematch of Bout #244) requires is that USA  Wrestling send Lindland's name to the USOC as USA  Wrestling's nominee for the team. By the time USA  Wrestling finally complied with the Burns Award--  11 days after Lindland won the rematch, and 2  days after we enforced the Burns Award--the  deadline for making nominations had passed, and  the USOC declared that it would send Sieracki to  Sydney. The district court's injunction, the  IOC's acceptance of Lindland, and the USOC's  appeal followed.
    
    
      14
      Most of the USOC's submission on appeal  misunderstands the basis of the injunction.  Consider, for example, the USOC's lengthy  argument, based on Michaels v. United States  Olympic Committee, 741 F.2d 155 (7th Cir. 1984)  (which interpreted the predecessor to  sec.220527), that there is no private right of  action to enforce the Stevens Act. That may or  may not be so under the current version of the  statute; we need not decide, because Lindland did  not file suit to enforce the Stevens Act. He sued  to enforce the Burns Award, and the Federal  Arbitration Act provides the necessary private  right of action. The dispositive question is  whether the order (and eventually the injunction)  entered against USA Wrestling binds the USOC too.  This depends on Fed. R. Civ. P. 65(d)
    
    
      15
      Every order granting an injunction and every  restraining order . . . is binding only upon the  parties to the action, their officers, agents,  servants, employees, and attorneys, and upon  those persons in active concert or participation  with them who receive actual notice of the order  by personal service or otherwise.
    
    
      16
      The USOC, as a party to the proceedings to  enforce the Burns Award, received actual notice  of our decision on August 24 requiring USA  Wrestling to nominate Lindland forthwith. USA  Wrestling tarried, but the USOC knew what USA  Wrestling was required to do and easily could  have taken our decision as equivalent to a formal  nomination by USA Wrestling on August 24--when it  would have been timely under the USOC's rules.  The district court's injunction requires the USOC  to do what it should and would have done had USA  Wrestling timely complied with the decision of  August 24. This order is proper if the USOC is a  person "in active concert or participation with"  USA Wrestling.
    
    
      17
      Briefing the "active concert or participation"  issue at our instructions, the USOC contends that  it is an independent organization, entitled to  make the final decision. No one doubts this, but  the "active concert or participation" clause  supposes legal distinctiveness; if USA Wrestling  and the USOC were the same party, the order would  be binding directly. The "active concert or  participation" clause is designed to prevent what  may well have happened here: the addressee of an  injunction, eager to avoid its obligations,  persuades a friendly third party to take steps  that frustrate the injunction's effectiveness.  See Reich v. Sea Sprite Boat Co., 50 F.3d 413  (7th Cir. 1995). The USOC has given every  indication of willingness to lend a hand. For  example, it responded to the initiation of the  Campbell proceedings by promising to respect  their outcome--which entails a promise to ignore  the outcome of the Burns proceedings. The events  of August 24 also imply that USA Wrestling and  the USOC acted in concert. On the evening of  August 24 USA Wrestling sent the USOC one  document "notifying" it of this court's decision  and a second document nominating Sieracki. The  USOC decided to accept the nomination of  Sieracki, knowing full well that this nomination  violated a decision of this court. The inference  that USA Wrestling and the USOC undertook a joint  effort to defeat the Burns Award (and our  decision) is very strong.
    
    
      18
      That inference could be overcome by a  demonstration that the USOC had an independent  ground of decision. No one doubts that the USOC  may adopt its own criteria and make its own  selections. 36 U.S.C. sec.220505(c). Thus if, for  example, Lindland failed a drug test, or if his  behavior at past international competitions had  brought shame on the team (as the U.S. Olympic  hockey team did en masse in 1998), then the USOC  could have sent Sieracki to the Games. Similarly,  if the USOC regularly made its own judgments  about athletic prowess, then a determination that  Sieracki is the wrestler most likely to succeed  in Sydney would be respected by the federal  judiciary. Yet in response to a question posed by  this court (and a similar one posed by the  district court), the USOC failed to identify even  a single instance in which it has not forwarded  to the IOC the nomination of a national governing  body such as USA Wrestling. Its promise to send  whichever athlete Arbitrator Campbell selected  abjures any independent role; indeed, that  promise is the best evidence that USA Wrestling  and the USOC have acted jointly to implement the  Campbell Award despite judicial enforcement of  the Burns Award.
    
    
      19
      When on August 15 it originally sent to the IOC  the full list of USA Wrestling's nominees (a list  that included Sieracki despite Lindland's victory  on August 14), the USOC did not make an  independent decision about their athletic skills;  instead the certification says that the list (and  the USOC's approval) is "based on the selection  criteria devised and previously approved by the  USOC" and in particular that "[t]he selection of  the NGB athlete nominations were [sic] conducted  in our estimation according to the policies and  procedures approved by the USOC for the 2000  Olympic Summer Games." In other words, the USOC  investigated only to ensure that USA Wrestling  followed the rules for selecting its nominees.  One of these rules (quoted in our August 24  opinion) specifies that the winner of Bout #244  would be USA Wrestling's nominee in the 76  kilogram classification. Lindland is the winner  of Bout #244 and the recipient of USA Wrestling's  (belated) nomination. Under the USOC's own rules,  therefore, Lindland is entitled to the position  on the Olympic Team. This makes it very hard to  understand the USOC's position as anything other  than a continuation of the view disparaged in our  August 24 opinion: a belief by the USOC that  athletes who pursue their rights under the  Stevens Act should be penalized. The district  court was entitled to prevent the USOC from  carrying out that view under the pretext that USA  Wrestling's nomination of Lindland arrived too  late.
    
    
      20
      Nonetheless, the USOC insists, it is entitled  to do as it pleases--defying injunctions to its  heart's content--if it manages to stall until  only three weeks remain before the Games. For  this proposition it relies on another part of the  Stevens Act, 36 U.S.C. sec.220509(a):
    
    
      21
      The corporation shall establish and maintain  provisions in its constitution and bylaws for the  swift and equitable resolution of disputes  involving any of its members and relating to the  opportunity of an amateur athlete, coach,  trainer, manager, administrator, or official to  participate in the Olympic Games, the Paralympic  Games, the Pan-American Games, world championship  competition, or other protected competition as  defined in the constitution and bylaws of the  corporation. In any lawsuit relating to the  resolution of a dispute involving the opportunity  of an amateur athlete to participate in the  Olympic Games, the Paralympic Games, or the Pan-  American Games, a court shall not grant  injunctive relief against the corporation within  21 days before the beginning of such games if the  corporation, after consultation with the chair of  the Athletes' Advisory Council, has provided a  sworn statement in writing executed by an officer  of the corporation to such court that its  constitution and bylaws cannot provide for the  resolution of such dispute prior to the beginning  of such games.
    
    
      22
      Saturday, August 26, was the 21st day before the  "beginning" of the Sydney Olympics. The USOC  filed in the district court an affidavit  parroting the statutory terms and insists that,  as a result, the district court was powerless to  enforce the Burns Award.
    
    
      23
      Section 220509(a) is designed to prevent a  court from usurping the USOC's powers when time  is too short for its own dispute-resolution  machinery to do its work. The premise of the  USOC's argument is that the dispute among  Lindland, Sieracki, and USA Wrestling is one to  be resolved by the USOC's internal processes,  which can't be done at this late date. This is  just another variation of the USOC's  misunderstanding about the genesis of the  district court's order. Lindland has not asserted  a private right of action to enforce the Stevens  Act, nor has he attempted to initiate a new  dispute-resolution process before the USOC. His  claim depends on the Burns Award, which was  issued on August 9, well outside the 21-day  window, and the decision of this court, also  issued before the 21st day. The only question on  the table is whether USA Wrestling and the USOC  will comply with obligations that had been  established before that three week period. The  USOC's liability stems from its obligation as an  entity "in active concert or participation with"  USA Wrestling to avoid frustrating the order  enforcing the Burns Award.
    
    
      24
      We do not for one second believe that Congress  set out to reward intransigence, so that the USOC  can protect scofflaws among the national  governing bodies, or itself defy judicial orders  if, on the 21st day before the Olympic torch  enters the stadium, the President of the USOC is  not already in prison for contempt. There is no  dispute for the USOC to resolve, so its inability  under its constitution and bylaws to act on short  notice is not important. All the USOC had to do  was implement this court's decision of August 24  (enforcing the Burns Award of August 9); all we  hold is that delay in compliance with an  obligation judicially articulated before the 21st  day does not entitle the USOC to escape that  obligation. To put this in the statutory  language, the prohibition applies only if "such  dispute"--that is, a dispute to be handled under  the USOC's procedures--can't be resolved in the  time remaining before the games. When no "such  dispute" survives into the three-week period  (because it had been resolved earlier),  sec.220509(a) does not preclude enforcement of  the outstanding decision.
    
    
      25
      Senator Stevens himself may have a different  view about the effect of sec.220509(a). At the  behest of the USOC, he wrote a letter asking the  district judge to vacate its order. Our reading  of the letter implies that the USOC misinformed  the Senator about the nature of the controversy  and the reason the district judge had ordered the  USOC to send Lindland's name to the IOC, but no  matter. Legislative history is a chancy subject;  subsequent legislative history is weaker still,  Pierce v. Underwood, 487 U.S. 552, 566-68 (1988);  Weinberger v. Rossi, 456 U.S. 25, 35 (1982);  Regional Rail Reorganization Act Cases, 419 U.S.  102, 132 (1974), indeed is an oxymoron, see  Continental Can Co. v. Chicago Truck Drivers  Pension Fund, 916 F.2d 1154, 1157 (7th Cir.  1990), and a letter or affidavit written as a  form of constituent service is the bottom of the  pecking order. See Bread Political Action  Committee v. FEC, 455 U.S. 577, 582 n.3 (1982).  Letters written after a statute's enactment were  not presented in the course of debate and so are  not the sort of views that may be credible  because other members of the legislature rely on  them and may impose penalties on those who  misrepresent, or misunderstand, the text. Compare  William N. Eskridge, Jr., Dynamic Statutory  Interpretation 210-38 (1994), and McNollgast,  Positive Canons: The Role of Legislative Bargains  in Statutory Interpretation, 80 Geo. L.J. 705  (1992), with John F. Manning, Textualism as a  Nondelegation Doctrine, 97 Colum. L. Rev. 673  (1997).
    
    
      26
      A letter from a Member of Congress telling a  judge how to decide a pending case reflects a  misunderstanding of the difference between  legislative and judicial functions. Senator  Stevens played a leading role in the creation of  sec.220509, but he has no role in adjudication.  Giving weight to such a letter would only invite  other litigants to pester Members of Congress for  expressions of support--or Members of Congress to  pester the courts with their latest views about  how laws should be implemented and cases decided.  It is best, we think, for each institution to hew  to its constitutional function. See Bread PAC;  Abbott v. Virginia Beach, 879 F.2d 132, 136 (4th  Cir. 1989); Environmental Defense Fund, Inc. v.  Wheelabrator Technologies, Inc., 725 F. Supp.  758, 769-70 (S.D. N.Y. 1989); Stephen F.  Williams, Legislative History and the Problem of  Age, 66 Geo. Wash. L. Rev. 1366, 1369 &amp; n.12  (1998).
    
    Affirmed
    
      
        Notes:
      
      
        *
         Because the Olympic Games are imminent, No. 00-  3220 was submitted for decision by the filing of  simultaneous briefs on August 30, and No. 00-3236  was submitted under the same procedure on  September 1. Later that day the court affirmed  the judgments in both cases, issuing a short  order indicating that this opinion would follow.
      
    
    